            Case 3:20-cr-00249-RS          Document 491    Filed 01/22/25      Page 1 of 5




 1 MICHAEL J. SHEPARD (SBN 91281)
    mshepard@kslaw.com
 2 KING & SPALDING LLP
   50 California Street, Suite 3300
 3 San Francisco, California 94111

 4 Telephone:     +1 415 318 1221

 5 KERRIE C. DENT (admitted pro hac vice)
    kdent@kslaw.com
 6 KING & SPALDING LLP
   1700 Pennsylvania Avenue, NW, Suite 900
 7
   Washington, DC 20006-4707
 8 Telephone:   +1 202 626 2394

 9 CINDY A. DIAMOND (SBN 124995)
    cindy@cadiamond.com
10 ATTORNEY AT LAW

11 58 West Portal Ave #350
   San Francisco, CA 94127
12 Telephone:    +1 408 981 6307

13 Attorneys for Defendant
   ROWLAND MARCUS ANDRADE
14

15

16                                UNITED STATES DISTRICT COURT

17                               NORTHERN DISTRICT OF CALIFORNIA

18                                      SAN FRANCISCO DIVISION

19 UNITED STATES OF AMERICA,                       Case No. 3:20-cr-00249-RS
20
                    Plaintiff,                     DEFENDANT ANDRADE’S WITNESS
21                                                 LIST
            v.
22                                                 Pretrial Conference: Jan. 22, 2025 | 9:30 a.m.
     ROWLAND MARCUS ANDRADE,                       Trial: Feb. 10, 2025 | 9:00 a.m.
23
                                                   Court: Courtroom 3 | 17th Floor
                    Defendant.
24                                                 Judge: Hon. Richard Seeborg

25

26

27

28
                                                  1
     Defendant Andrade’s Witness List                                 Case Number: 3:20-cr-00249-RS
            Case 3:20-cr-00249-RS          Document 491       Filed 01/22/25     Page 2 of 5




 1          Defendant Andrade hereby submits his list of witnesses that may be called to testify
 2 during his case-in-chief during the trial of the above-captioned matter. Mr. Andrade reserves the

 3 right to call any witness listed on the government’s witness list. Mr. Andrade further respectfully

 4 reserves the right to amend this list and disclose additional witnesses in a manner consistent with

 5 the Federal Rules of Criminal Procedure. Not listed here, because they have already been

 6 disclosed, are his expert witnesses.

 7

 8      1. Anticipated Case-In-Chief Witnesses
 9

10                               ID #     Name
                                 1        Allaham, Joey
11                                        Cully, Warren
                                 2
12                               3        Davis, Barry
                                 4        Fahy, John
13
                                 5        Gregory, Amanda
14                                        Grimm, Bradford
                                 6
15                                        Johnson, Kathy (potential
                                 7        summary witness)
16                               8        Korf, Mordechai
17                               9        Lee, Bryant (UCE 7410)
                                 10       Lee, Christine
18
                                 11       Martinez, Christopher
19                               12       OCE 8026-SAC
20                               13       Petkevich, Sergey
                                 14       Poon, Terrence
21
                                 15       Pugliese, Dylan
22                               16       Ray, Christopher
23                               17       Ruzicka, Karl
                                 18       Takhar, Jasbir
24
                                 19       Tinker, Jeffrey
25                               20       Torres, Raul
26                               21       Weissman, Arthur
                                 22       Wooten, Randy
27

28
                                                     2
     Defendant Andrade’s Witness List                                   Case Number: 3:20-cr-00249-RS
            Case 3:20-cr-00249-RS        Document 491       Filed 01/22/25   Page 3 of 5




 1     2. Anticipated As-Needed Impeachment Witnesses
 2

 3                               ID #   Name
                                 23     Fein, Brian
 4
                                 24     Ferrara, Peter
 5                               25     Hodges, Kelly
 6                               26     Koltuniak, Andrew
                                 27     Kroll, Chase
 7
                                 28     Motley, Seaton
 8                               29     Quinn, Ethan
                                 30     Rothschild, Beau
 9
                                 31     Sherman, Steve
10                               32     Wong, Bryan
11                               33     Wynar, Rohan
                                 34     Zicherman, Eli
12

13
       3. Anticipated As-Needed Foundation and Authenticity Witnesses (Should the Parties
14
            Fail to Stipulate)
15

16
                                 ID #   Name
17                               35     Ahmed, Leena (UCE 7780)
18                               36     Apollaro, Anthony
                                 37     Armas, Elizabeth
19
                                 38     Battle, Wes
20                               39     Bierbauer, Erik
21                               40     Clachko, Jeffrey
                                 41     Danik, Jeffrey
22
                                 42     Di Paolo, Paul
23                               43     Donahoe, Brian
24                               44     Fliderman, Sandy
                                 45     Genao, Ana
25
                                 46     Gupta, Ravi
26                               47     Haljun, Gibbs
27                               48     Kahrs, James

28
                                                  3
     Defendant Andrade’s Witness List                                Case Number: 3:20-cr-00249-RS
            Case 3:20-cr-00249-RS        Document 491         Filed 01/22/25   Page 4 of 5




 1                               49     Landau, Robert
                                 50     Lee, Bryant
 2
                                 51     Lehmberg, Emily
 3                               52     Maran, Cory
 4                               53     McCormack, Mike
                                 54     McKenna, Mary
 5
                                 55     Melville, Ann
 6                               56     Migdall, Allan
                                 57     Morgan, Brad
 7
                                 58     O'Brien, David
 8                               59     Oriji, Nddi
 9                               60     Prasievi, Alexander
                                 61     Randall, John
10
                                 62     UCE-7780
11                               63     Woods, James
12

13     4. Anticipated As-Needed Witnesses Should Evidence of Alleged Market
14          Manipulation, Prior Litigation, and AtenCoin be Admitted over Mr. Andrade’s
15
            objection.
16

17                               ID #   Name
                                 64     Agrawal, Sachin
18
                                 65     Clay, Jerrell
19                               66     Cohen, David
20                               67     Fulton, Patricia
                                 68     Getz, George
21
                                 69     Gray, Richard
22                               70     Kresek, Barbara
23                               71     Olsen, Eric
                                 72     Verma, Nea
24
                                 73     Westerfield, Lee
25

26

27

28
                                                   4
     Defendant Andrade’s Witness List                                  Case Number: 3:20-cr-00249-RS
            Case 3:20-cr-00249-RS       Document 491   Filed 01/22/25        Page 5 of 5




                                                   Respectfully submitted,
 1

 2 DATED: January 22, 2025                         KING & SPALDING LLP
 3
                                                By: /s/ Michael J. Shepard
 4                                                  MICHAEL J. SHEPARD
                                                    KERRIE C. DENT
 5                                                  CINDY A. DIAMOND
 6                                                 Attorneys for Defendant
                                                   ROWLAND MARCUS ANDRADE
 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                               5
     Defendant Andrade’s Witness List                             Case Number: 3:20-cr-00249-RS
